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                      UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re: BRIAN EDWARD BUECKER,                                   :


               Debtor                             :     Case No. 18-17801REF

                                                        Chapter    13


     ORDER REVISING THE NOVEMBER 28, 2018.
        ORDER REQUIRING THE FILING OF
           BANKRUPTCY DOCUMENTS
                AND NOW, this 28 day of November, 2018, upon the prior ﬁlings by
Debtors     of four recent cases, to Wit, No. 07-16806, (dismissed for failure to ﬁle
required bankruptcy documents and to make required payments), No. 09—17076
(discharged), No. 14—10655 (dismissed for failure to make plan payments), No. 18-
14908 (dismissed for failure to obtain credit counselling and for failure to make

ﬁrst installment for the ﬁling fee), and upon the above Chapter         13 case,   ﬁled today,
November 28, 2018, and upon the prior order in the above case, entered today (the
“Prior Order”), requiring Debtors to ﬁle their credit Counselling certiﬁcate, Chapter
13   plan, and pro se statement for their Chapter 13 case within a certain time,

                IT IS HEREBY ORDERED that:

     1.   This case MAY BE DISMISSED WITH PREJUDICE WITHOUT
          FURTHER NOTICE         if all of the documents described in the Prior Order are
          not ﬁled on or before December 12, 2018.




                                                  Richard E. Fehling,
                                                  United States Bankruptcy Judge
